IN THE UNITED sTATEs DISTRICT coURT gm 0 4 mg
FoR THE EASTERN DISTRICT oF TENNESSEE

AT KNOXVILLE Cs'erk, UF. 3 'L`J:stc‘:e't Court

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'rHoM,As GIRDLEsToNE,
Piaimirf,
v. civil No. § §:OQ“C,l/v@§@

From the Knox County Chancery Court
No. 176327-1

QM)\()S l §l/\r,(lac\

ACE LIMITED, a/ k/ a ACE GROUP &
ACE WESTCHESTER, d / b / a ILLINOIS
UNION INSURANCE

Defendants.

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NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §1441 and 1446, Defendant ACF. _Limited hereby gives notice that it is
removing this civil action from the Chancery Court for Knox County, Tennessee, to the United States
District Court for the Eastern District of Tennessee at Knonille, and in support thereof shows the
following

1. On October 23, 2009, Plaintiff Thomas Girdlestone initiated this civil action against
ACE Limitedl in the Chancery Court for Knox County, Tennessee, which is located within the Eastern
District of Tennessee. Attached hereto as Exhibit A is a copyv of the Sumrnons and Cornplaint from the
State Court Action (“State Court Action”). 'l` he Sumrnons and Complaint are the only process, claim or
pleadings filed in the State Court Action.

2. On Novernber 6, 2009, ACE Lirnited’s outside counsel, with ACE Limited’s consent,

accepted service on behalf of ACE Lirnited. Until_ November 6, 2()()9, Plaiiitiff had not achieved proper

 

1 Plaintiff has only sued one defendant, Ace liirm`ted, and erroneously alleges that Ace Lirnited is “a/k/a Ace
G roup & Ace Westchester d/b/a lllinois Union lnsurance.”

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service on ACE Limited. Attached hereto as Exhibit B is a copy of ACE Limited’s counsel’s acceptance
of service.

3. The Complaint alleges claims sounding in breach of an insurance contract, negligence,
fraudulent misrepresentation, outrageous conduct, violations of the Tennessee Consumer Protection
Act, and the Tennessee Unfair Claims Practice Act. Plaintiff seeks compensatory, treble and punitive
damages and attorneys fees. Complaint at Prayer for Relief, 1W C-]. ln total, Plaintiff seeks in excess of
$3,700,000 from ACE Limited.

4. Plaintiff is a citizen and resident of Knox County, Tennessee. Complaint at 1l 1. ACE

Limited is a Swiss-incorporated company with a primary place of business in New York, New York. 5 66

 

A.celaimitedRoot About+ACE ACE+Liinited (last visited November 16,

www.acelimited.com

 

2009); 566 alia Complaint at 1l 2. T he parties are of diverse citizenship and the amount in controversy
exceeds $75,00(), exclusive of interest and costs. Thus, this Court has original jurisdiction of this action
under 28 U.S.C. § 1332. Complaint at Wl 1~2, Prayer for Relief.

5. T his Notice of Removal is being filed within thirty days of November 6, 2009, the date
on which Plaintiff effected service of process on ACE Limited. Thus, this Notice of Removal is timely
pursuant to the United States Supreme Court’s decision in rMmp/J} Brot/Fem, Im. a Mz`6/961‘fz` szbe jlrz`n<gz')zg,
Inc., 526 U.S. 344, 119 S.Ct. 1322 (1999).

6. ACE Limited will promptly notify the Clerk and Master of the Knox County Chancery
Court and Plaintiff of this removal The giving of such notice will effect the removal of the State Court
Action pursuant to 28 U.S.C. § 1446. A copy of the state court notice is attached as Exhibit C.

7. By removing this action, ACE Limited does not waive any defenses available to it and

expressly reserves the right to assert all such defenses in its responsive pleading

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\X/HEREFORE, Defendant ACE Limited requests that further proceedings of the Knox County
Chancery Court be discontinued and that this action be removed in its entirety to the United States
District Court for the Eastern District of Tennessee at Knoxville.

Respectfully submitted thile ‘“ day of December, 2009.

MW~

Robert L. Bowman (BPR # 017266)
Betsy]. Beck (BPR #022863)
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Of Counsel:

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ATT ORNEYS FOR DEFENDANT

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CERTIFICATE OF SERVICE

l hereby certify that on the H_"day of December, 2009, a true and exact copy of the foregoing
Notice of Removal was sent to Plaintiff’ s counsel by certified mail, return receipt requested, to the

following address:

Russell L. Egli

l,,aw Office of Rusell L. Egli
Post Office Box 23843
Knoxville, Tennesssee 37933

@@»MisQa/»L

Robert L. Bowman

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